
USCA1 Opinion

	





        December 13, 1995       [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT





                                 ____________________

        No. 95-1634


                                   PETER A. LEBON,

                                     Petitioner,

                                          v.

                              UNITED STATES OF AMERICA,

                                     Respondent.



                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Jose Antonio Fuste, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Selya, Stahl and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Peter A. Lebon on brief pro se.
            ______________
            Donald  K. Stern, United  States Attorney,  and Christopher Bator,
            ________________                                _________________
        Assistant U.S. Attorney, on brief for respondent.


                                 ____________________


                                 ____________________























                 Per Curiam.  We  have carefully reviewed the  record and
                 __________

            affirm the  district court's dismissal of  appellant's   2255

            petition without an evidentiary hearing.

                 1.  Counsel's failure  to subpoena Tina Pina's telephone

            records was  a permissible  strategic decision which  did not

            constitute ineffective assistance of  counsel.  That Tina had

            left  in   place  a  block  preventing   her  from  receiving

            appellant's calls would have undercut counsel's spurned woman

            strategy and would not have been particularly probative since

            the jury might instead have concluded  that the apology calls

            occurred  at a  later  time and  that  Tina had  simply  been

            mistaken about the date. 

                 2.    Any  error  in  introducing  the  nature  of   the

            underlying felony  conviction was harmless in  view of Stefan

            Pina's testimony concerning  defendant's access  to guns  and

            motive to possess one.  

                 3.  For the reasons stated in the district court's March

            30,  1995 and  May 23,  1995 opinions, appellant's  claims of

            prosecutorial misconduct do not warrant habeas relief.

                 Affirmed.
                 ________













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